


  Per Curiam.
 

  Denise Incorvaia Mroz was admitted to practice by this Court in 1995 and lists a business address in New Brunswick, New Jersey with the Office of Court Administration. Mroz now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Mroz’s application.
 

  Upon reading Mroz’s affidavit sworn to October 20, 2017 and filed October 25, 2017, and upon reading the December 6, 2017 correspondence in response by the Chief Attorney for AGC, and having determined that she is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
 

  McCarthy, J.P., Egan Jr., Lynch, Devine and Clark, JJ., concur.
 

  Ordered that Denise Incorvaia Mroz’s application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further ordered that Denise Incorvaia Mroz’s name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further ordered that Denise Incorvaia Mroz is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Mroz is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further ordered that Denise Incorvaia Mroz shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.
 
